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UNITED sTATEs DIsTRICT CoURT HE"”‘"‘""U ""' %C
wEsTERN DISTRICT oF TENNEssEE 05
Westeru Division AUG 29 PH "’: l 5
UNITED sTATEs 0F AMERICA vice nga ;;; ¢`@:j,;tPH,S
-v- Case No. 2:90cr20089-3-Ma

ROCIGE LANE HILLIARD

 

ORDER SETTING
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Oft'ice, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court.

ADDIT|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

¢ The defendant is released on personal recognizance
Secured Financial Conditions

0 Other: Defendant shall abide by all conditions of supervised release previously irnposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fme, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

'°‘° 199" °'“e'Se“‘"g °°"d"‘°"$ °fRe'”se Th‘ls doctment enteibil on the docket sheet in compliance
with Rule 55 and/or 32fbl FRCrP on ' gp

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Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the

service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment itrq)osed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that l am aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
/aiw a Ma/

Signature of Defendant

ROCKIE LANE HILLIARD
3164 MIMOSA AVENUE
MEMPI~IIS, 'IN 38112
901-452-7018

DIRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

at

Daze: August 29, 2005 __ _QC/“-`
"’ TU M. PHAM
UNITED sTATEs MAGlsrRArE JUDGE

Ao man order setting conditions st Releasa -2-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:90-CR-20089 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Bruee 1. Griffey

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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Samuel Mays
US DISTRICT COURT

